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                       Exhibit 15
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From:                               Pohlman, Daniel J.
Sent:                               Monday, August 28, 2023 3:18 PM
To:                                 Finkel, Ryan (USANYS); Barkan, Matthew
Cc:                                 Kamaraju, Sidhardha; Murray, Juliana (USANYS) 1; Fergenson, Micah (USANYS)
Subject:                            RE: Kwok


Ryan,

In terms of the relevance of the government’s communications with the trustee, the extent and nature of the
communications between your office and the trustee goes to whether there has been coordination that would impact
the government’s discovery obligations, which is an issue that has been litigated in many cases. The degree of
information sharing between the government and the trustee is a relevant factor in that analysis. Similarly, given,
among other things, some of the statements made in the search warrant affidavits, we also request that you produce
your communications with the SEC on the same basis. Please let us know this week if you will produce the requested
documents.

As for the protective order, understood, and we will note that.

On the draft translations, we can confirm that the understanding described in your email is correct.

Thanks,
Dan
_______________________________________
DANIEL J. POHLMAN
Associate
PRYOR CASHMAN LLP
7 Times Square, New York, NY 10036-6569
212.326.0823 (office) | 612.910.5407 (mobile)
www.pryorcashman.com


From: Finkel, Ryan (USANYS) <Ryan.Finkel@usdoj.gov>
Sent: Monday, August 21, 2023 11:11 AM
To: Pohlman, Daniel J. <DPohlman@PRYORCASHMAN.com>; Barkan, Matthew <MBarkan@PRYORCASHMAN.com>
Cc: Kamaraju, Sidhardha <SKamaraju@PRYORCASHMAN.com>; Murray, Juliana (USANYS) 1
<Juliana.Murray@usdoj.gov>; Fergenson, Micah (USANYS) <Micah.Fergenson@usdoj.gov>
Subject: RE: Kwok

Dan,

Thanks for your email. With respect to your request for communications with Despins, can you provide a bit more
information about why such communications would be “relevant,” and also let us know what authorities there are (if
any) that support your request?

Second, you are correct the Government opposes modifying the protective order to permit production of criminal
discovery to Despins. We object to any such production. You can note our position to the Court.

Third, we also write to confirm that we intend to produce to you, via our privilege wall team, draft English-language
translations of communications between Wang and Kwok, which are provided as a courtesy to assist your review. Based
                                                            1
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on our August 16, 2023 call, we understand that you agree to treat such translations (which were created with machine
assistance) as drafts, and further agree that the Government will not be bound to those translations. Please confirm
that understanding is correct.

Thanks,

Ryan



From: Pohlman, Daniel J. <DPohlman@PRYORCASHMAN.com>
Sent: Thursday, August 17, 2023 4:12 PM
To: Finkel, Ryan (USANYS) <RFinkel@usa.doj.gov>; Barkan, Matthew <MBarkan@PRYORCASHMAN.com>
Cc: Kamaraju, Sidhardha <SKamaraju@PRYORCASHMAN.com>; Murray, Juliana (USANYS) 1 <JMurray1@usa.doj.gov>;
Fergenson, Micah (USANYS) <MFergenson@usa.doj.gov>
Subject: [EXTERNAL] RE: Kwok

All,

Thank you for your time yesterday. As discussed, we request that you produce to us all of your communications with
Luc A. Despins, in his capacity as bankruptcy trustee, and his team to date. We believe that those communications are
relevant to this proceeding, particularly given recent filings suggesting coordination between DOJ and the bankruptcy
trustee in connection with the Mahwah property. Please let us know whether you agree to produce such
communications.

Separately, as discussed yesterday, in coming days we intend to make a motion before Judge Torres, pursuant to Judge
Manning’s order in the bankruptcy case, requesting a modification of the protective order which will enable us to
produce to the bankruptcy trustee the materials you have produced to us to date. We understand that your position is
that you oppose such a modification. To the extent that this is incorrect or your position changes, please let us
know. Otherwise, we will include in our motion a statement that we conferred with you and that you are opposed to
the relief.

Best,
Dan
_______________________________________
DANIEL J. POHLMAN
Associate
PRYOR CASHMAN LLP
7 Times Square, New York, NY 10036-6569
212.326.0823 (office) | 612.910.5407 (mobile)
www.pryorcashman.com


From: Finkel, Ryan (USANYS) <Ryan.Finkel@usdoj.gov>
Sent: Wednesday, August 16, 2023 9:42 AM
To: Barkan, Matthew <MBarkan@PRYORCASHMAN.com>
Cc: Kamaraju, Sidhardha <SKamaraju@PRYORCASHMAN.com>; Murray, Juliana (USANYS) 1
<Juliana.Murray@usdoj.gov>; Fergenson, Micah (USANYS) <Micah.Fergenson@usdoj.gov>; Pohlman, Daniel J.
<DPohlman@PRYORCASHMAN.com>
Subject: RE: Kwok

Yes – let’s say 3:30. Would you be able to circulate a dial-in?

Thanks,
                                                              2
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Ryan

From: Barkan, Matthew <MBarkan@PRYORCASHMAN.com>
Sent: Wednesday, August 16, 2023 9:02 AM
To: Finkel, Ryan (USANYS) <RFinkel@usa.doj.gov>
Cc: Kamaraju, Sidhardha <SKamaraju@PRYORCASHMAN.com>; Murray, Juliana (USANYS) 1 <JMurray1@usa.doj.gov>;
Fergenson, Micah (USANYS) <MFergenson@usa.doj.gov>; Pohlman, Daniel J. <DPohlman@PRYORCASHMAN.com>
Subject: [EXTERNAL] Re: Kwok

Ryan, we can be available between 3:30pm and 5pm today. Would that work?

Thanks
Matt

Sent from my iPhone


         On Aug 15, 2023, at 17:50, Finkel, Ryan (USANYS) <Ryan.Finkel@usdoj.gov> wrote:


         Sid, Matt – What is your availability this week for a call to discuss a few open issues in this case?

         Thanks,

         Ryan

         --
         Ryan B. Finkel
         Assistant United States Attorney
         Southern District of New York
         One Saint Andrew’s Plaza
         New York, NY 10007
         (212) 637-6612
         Ryan.Finkel@usdoj.gov




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